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                     UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:
Dennis E. Hecker                                                       BKY No.: 09-50779-rjk
       Debtor.                                                         Chapter 7


                   OBJECTION TO NOTICE OF SETTLEMENT (DOC. 1034)


       Attorney Richard B. Jacobson of Richard B. Jacobson & Associates, LLC, pro hac vice,

with Attorney John William Verant, resident counsel, on behalf of Dennis E. Hecker and the

Hecker Entities identified as set forth on the attached Exhibit 1 (pending verification of the

correct identification) object to the Notice of Settlement filed by Randall Seaver, Chapter 7

Trustee (Doc. 1034) on the following grounds:

       1. This Court lacks subject matter jurisdiction to approve the unfiled Settlement

Agreement referenced in the May 3, 2018 Notice of Settlement (Doc. 1034) with respect to

certain unclaimed funds payable to the entities listed on Exhibit 1.

       2. On February 11, 2011, Dennis E. Hecker entered into a Stipulation with the United

States of America in United States of America v. Dennis E. Hecker, Case No. 0:10-cr-00032 (the

Criminal Case). See Docket Entry 278, filed on March 1, 2011, Stipulation, attached hereto as

Exhibit 2.

       3. Pursuant to the Order of the United States District Court for the District of Minnesota

(the District Court) in the Criminal Case:

               [T]he proceeds from insurance, warranty or other claims owed to the following
       entities: Brainerd Imports LLC; DEH Family Holdings LLC; DEH Funding LLC; DEH
       Properties, LLC; Dennis Hecker Mortgage LLC; Dennis Hecker Real Estate Holding


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       Company, LLC; Denny Hecker’s Automotive Group, Inc.; Denny Hecker’s
       Cadillac-Pontiac-GMC, Inc.; Den-Star Management, Inc.; DH Capital Holdings LLC;
       HHR of Copper Oaks, LLC; Hecker Capital, LLC; Hudson Auto Sales, Inc.; Inver Grove
       Holdings, LLC; Inver Grove Investments, LLC; Inver Grove Investments, Inc.; Jacob
       Properties of Minnesota LLC; Jacob Holdings of Medina LLC; Jacob Motors of Pine City
       LLC; Jacob Motors of Shakopee LLC; Jacob Motors of St. Cloud LLC; Jacob Properties
       of Aspen, LLC; Lake Country Auto Center, Inc.; Monticello Motors LLC; Rosedale
       Dodge, Inc.; Rosedale Leasing of Minneapolis LLC; Rosedale Leasing of Minnesota
       LLC; Southview Chevrolet Co.; Stillwater Ford, Lincoln-Mercury Inc.; Sydney Holdings
       of Eden Valley LLC; Sydney Holdings of IGH LLC; Walden Auto Leasing IV, Inc.;
       Walden Fleet Group, Inc.; Walden Fleet Sales Group, Inc.; Walden Fleet Services II, Inc.;
       Walden Investment Company; Walden Leasing, Inc.; Walden Payroll Services LLC, or
       their subsidiaries and/or holding companies and related companies, shall be remitted to
       the Clerk of U.S. District Court.

      See Docket Entry 279, the February 28, 2011 Order Approving the Stipulation, filed on
March 1, 2011, at ¶2 attached hereto as Exhibit 3.

       4. The District Court retained jurisdiction over Order approving the Stipulation signed by

Dennis E. Hecker on February 11, 2011 in the March 1, 2011, Order Approving Stipulation at ¶5,

which reads:

               5. The Court retains jurisdiction over this matter to implement this Order and the
               Stipulation.

       5. There is nothing in the Order of the District Court (Exhibit 3) which provides any

alternative jurisdiction for the implementation of the Order Approving the Stipulation entered by

the United States District Court.

       6. There has been no reference to this Court from the District Court under 28 U.S.C. sec.

157(a) nor can there be because the Stipulation and Order (Exhibits 2 and 3) are before the

United States District Court for the District of Minnesota in its original and exclusive jurisdiction

to determine all issues in the Criminal Case under 18 U.S.C. sec. 3231 and the Stipulation and

Order does not arise under Title 11 of the United States Code.



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       7. The United States Bankruptcy Court for the District of Minnesota (the Bankruptcy

Court) does not have jurisdiction to implement the Order Approving the Stipulation (Exhibit 3).

       8. Even if the Bankruptcy Court had been authorized to implement the Order Approving

the Stipulation (which it was not), the Notice of Settlement (Doc. 1034) does not comply with

Fed. R. Bankr. P. 9019, which provides:

       Rule 9019. Compromise and Arbitration

       (a) Compromise. On motion by the trustee and after notice and a hearing, the court may
       approve a compromise or settlement. Notice shall be given to creditors, the United States
       trustee, the debtor, and indenture trustees as provided in Rule 2002 and to any other entity
       as the court may direct.

       (b) Authority To Compromise or Settle Controversies Within Classes. After a hearing on
       such notice as the court may direct, the court may fix a class or classes of controversies
       and authorize the trustee to compromise or settle controversies within such class or
       classes without further hearing or notice.

       (c) Arbitration. On stipulation of the parties to any controversy affecting the estate the
       court may authorize the matter to be submitted to final and binding arbitration.

       10. The Notice of Settlement was not served on all interested parties as required by Fed.

R. Bankr. P. 2002 (a), which provides:

       Rule 2002. Notices to Creditors, Equity Security Holders, Administrators in Foreign
       Proceedings, Persons Against Whom Provisional Relief is Sought in Ancillary and Other
       Cross-Border Cases, United States, and United States Trustee

       (a) Twenty-One-Day Notices to Parties in Interest. Except as provided in subdivisions (h),
       (i), (l), (p), and (q) of this rule, the clerk, or some other person as the court may direct,
       shall give the debtor, the trustee, all creditors and indenture trustees at least 21 days’
       notice by mail of:
       ...
       (3) the hearing on approval of a compromise or settlement of a controversy other than
       approval of an agreement pursuant to Rule 4001(d), unless the court for cause shown
       directs that notice not be sent; . . .

       11. There is no Settlement Agreement attached to the Notice of Settlement signed by the


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a duly authorized representative of the counter-party, the United States of America.

       12. Because there is no Settlement Agreement attached to the Notice of Settlement, it is

impossible to ascertain whether or not the unfiled Settlement Agreement is correctly summarized

by the description of its terms set forth in the Notice of Settlement Agreement.

       13. The assertion at the top of page 2 of the Notice of Settlement, which states “Hecker

filed Chapter 7 bankruptcy on June 9, 2009 at which time all of his interests in property became

property of his bankruptcy estate (Bankruptcy Court File 09-50779)” is not a correct statement of

fact or law.

       14. When Mr. Hecker filed his Chapter 7 Petition, all nonexempt assets owned by Mr.

Hecker became property of the Chapter 7 Estate as a matter of law.

       15. The assets of the Hecker entities have never been determined to be the property of the

Chapter 7 Estate by judicial determination of substantive consolidation or on any other equitable

legal theory, except for the June 26, 2013 Default Judgment granted in Adv. No. 13-05017, titled

Seaver v. Jacob Holdings of Wisconsin, LLC and Jacob Properties of Minnesota, LLC (Doc. 6),

without notice to Mr. Hecker at the address to which mail could be delivered, which found, at

¶11:

               11. Jacob Holdings of Wisconsin, LLC is the alter ego of the debtor in that it has
               no business purpose, was supported solely by the debtor and existed solely to
               protect assets of the debtor. Recognizing the separate corporate status would
               result in substantial unfairness to the creditors of this estate.

and held by Order for Judgment at ¶1:

               1. The corporate fiction of Jacob Holdings of Wisconsin, LLC is disregarded.

       16. There is an issue of fact as to whether or not the assets of any of the Hecker entities



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are assets of the Chapter 7 Estate.

        17. Whether or not Mr. Hecker’s management interests in the subject entities became

property of the Chapter 7 Estate has never been determined by this Court.1

        18. Third parties, not subject to the Restitution Order in the Criminal Case (attached

Exhibit 5), include, but are not limited to, Jeff Holmers and Trusts created for the benefit of Mr.

Hecker’s children (research continuing). See Docs. 56, 57, and 58 in Adv. No. 17-05118.

        19. Creditors and lienholders of the Hecker Entities disclosed on Exhibit 4 have not been

served with the Order Approving the Stipulation in the Criminal Case and have not been served

with the legally insufficient Notice of Settlement (see Service List attached to the Notice of

Settlement, Doc. 1034).

        20. Mr. Hecker’s purpose in these proceedings at the present time is to protect the

interests of third parties as manager of the Hecker Entities, to assure that the recovery under the

Criminal Court Restitution Order (Exhibit 5) is maximized and that he be allowed the

exemptions to which he is entitled as a matter of law.

        21. This Objection is preliminary only and does not constitute a waiver of any issues not

raised herein.

        WHEREFORE, Dennis E. Hecker and the Hecker Entities identified as set forth on the

attached Exhibit 1 (pending verification of the correct identification) object to the purported


        1
          If Mr. Hecker’s management interests became property of the Chapter 7 Estate, Trustee Seaver
breached his fiduciary duty to the Chapter 7 Estate by failing to manage the substantial assets consisting
of over $9,000,000.00 in the Entities shown Exhibit 4, Doc. 63, pages 16-39, Exhibit B-13 to the
Schedule B filed in this case on July 1, 2009. See, e.g., reported equity in the amount of $4,000,000.00
in Hogrider Investments, LLC; $1,000,000.00 in Mikden of Stillwater, LLC; $2,480,715.99 in Jacob
Holdings of Sandberg Road, LLC; $750,000.00 in Transcend Communications, LLC; and $682,000.00
in Southview Chevrolet Company.

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Notice of Settlement (Doc. 1034) for the Bankruptcy Court’s lack of subject matter jurisdiction

and, to the extent that jurisdiction of the Bankruptcy Court may be invoked in proper

proceedings, Mr. Hecker and the Hecker entities require compliance with Fed. R. Bankr. P. 9019

and Fed. R. Bankr. P. 2002 and full and fair opportunity to be heard.

Dated at Madison, Wisconsin this 24th day of May, 2018.

                                     /e/ Richard B. Jacobson
                               _______________________________
                                     Richard B. Jacobson
                            Richard B. Jacobson & Associates, LLC,
                                          pro hac vice
                                131 W Wilson Street, Suite 301
                                  Madison, Wisconsin 53703
                                   VOICE: (608) 665-1566
                                     FAX: (608) 204-5991
                                 Email: rbj@rbjassociates.com
                                  Wisconsin Bar No. 1004731

Dated at Fridley, Minnesota this 24th day of May, 2018.

                                    /e/ John William Verant
                           ___________________________________
                                      John William Verant
                                        Attorney at Law,
                                        Resident Counsel
                                 7120 Riverview Terrace N.E.
                                   Fridley, Minnesota 55432
                                  Telephone: (763) 537-1427
                             Email: verantjohnwilliam@gmail.com
                                  Minnesota Bar #017046X




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                           EXHIBIT 1
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   LIST OF HECKER ENTITIES TO WHICH UNCLAIMED FUNDS WERE PAID
              TO THE MINNESOTA DEPARTMENT OF COMMERCE
 (Compiled from May 3, 2018 Notice of Settlement, Doc. 1034 in MNB Case No. 09-50779
                             and sorted alphabetically)

Advantage Delaware Management Svcs
Advantage Delaware Management
Automotive Credit Super Store Inc
Baxter Imports LLC
Brainerd Imports LLC
Brainerd Hyundai
Burnsville Motors
Capital Holdings LLC
Denny Hecker St Cloud
Denny Hecker LLC Mortgage
Denny Heckers Automotive Group
Denny Heckers Automotive Group Inc.
Denny H Cadillac
Denwal Mgmt Inc d/b/a Bob Carter Ford
Dodge Rosedale
EZ Home Finance Corp
Ford-Linc Stillwater
Forest Lake Chrysler Plymouth Dodge
Forest Lake CP Dodge Inc
Hecker & Holmer Holding Co LLC
Hecker Capital
Host Acquisition LLC
Hyundai of Inver Grove Heights
Inver Grove Motors L c/o Keith Phillips
Inver Grove Hyundai LLC
Inver Grover Motors LLC
Inver Grove Motors LLC
Jacob Holdings Crosslake MNBL
Jacob Holdings of St Louis Park LLC
Jacob Holdings of Texas LLC
Jacob Motors of St c/o Keith Phillips
Jacob Properties of Long LA
Jacob Holdings of Forest Lake LLC
Jacob Holdings of Monticello
Jacob Holdings of Burnsville LLC
Jacob Holdings of Cross Lake LLC
Jacob Holdings of County Rd 36 LLC
Jacob Holdings of Long Lake Rd LLC


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Monticello Dodge Chry Jeep
Monticello Kia
Monticello Ford Mercury Inc
Monticello Dodge
Monticello Motors LLC Ent
Monticello Motors LLC
Monticello Dodge
Monticello Dodge Chrysler Jeep Kia
Monticello Motors LLC
Monticello Chrysler
Rosedale Dodge Inc.
Rosedale Dodge
Rosedale Dodge Inc.
Rosedale Dodge Hyundai
Rosedale Dodge
Rosedale Dodge Inc.
Rosedale Leasing
Rosedale Dodge St Cloud
Rosedale Dodge of St Cloud
Rosedale Leasing
Rosedale Dodge
Roseville Dodge Inc
Roseville Dodge
Routson Motors
Southview Chev Jeep
Southview Chevrolet Co.
Southview Chevrolet
Southview Chevy Co
Southview Chevrolet
Stillwater Ford Lincoln Mercury Inc.
Stillwater Ford
Stillwater Ford Linc/Mercury
Twin City Homes GMAC REA
Twin City Homes Inc.
Walden A Group
Walden Leasing Inc
Walden Automotive Group
Walden Group
Walden Leasing/Suzuki




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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA
                             CRIMINAL NO. 10-32              (JNE/SER)



UNITED STATES OF AMERICA,


                       Plaintiff,

                                                                 STIPUL T
               v.                                                      A IO   � E C E � VE D
DENNIS EARL HECKER,


                       Defendant.
                                                                             CLERK, U.S. DlSTR!CT COURT
                                                                              MINNEAPOLIS, MINNESOTA
        The    assets       identified          below      (hereinafter,          "Assets")              are


governed by this Stipulation.                    However,        defendant understands that


the   listed        Assets       are    not    the    entirety       of    real     and       personal


property      which        the    government         may   seek    for     restitution           and/or


forfeiture.


        Defendant      Dennis          Earl    Hecker,      as    owner,     director,           and/or


officer       or    former       owner,   director,         and/or       officer     of       Brainerd


Imports       LLC;    DEH        Family    Holdings        LLC;     DEH     Funding         LLC;         DEH


Properties,         LLC;    Dennis      Hecker       Mortgage     LLC;     Dennis    Hecker          Real


Estate Holding Company,                LLC; Denny Hecker's Automotive Group,                       Inc.;


Denny    Hecker's      Cadillac-Pontiac-GMC,                 Inc.;    Den-Star           Management,


Inc.;    DH    Capital      Holdings          LLC;   HHR   of    Copper     Oaks,    LLC;        Hecker


Capital,      LLC;    Hudson Auto Sales,             Inc.;      Inver Grove Holdings,                LLC;


Inver Grove Investments,                LLC;    Inver Grove Investments,                 Inc.;     Jacob


Properties of         Minnesota LLC;           Jacob       Holdings of      Medina LLC;            Jacob


Motors of Pine City LLC;               Jacob Motors of Shakopee LLC;                Jacob Motors


of St. Cloud LLC;           Jacob Properties of Aspen,               LLC;    Lake Country Auto




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Center,   Inc.; Monticello Motors LLC;                  Rosedale Dodge,              Inc. ; Rosedale


Leasing    of    Minneapolis       LLC;     Rosedale         Leasing        of    Minnesota         LLC;


Southview    Chevrolet       Co.;    Stillwater            Ford,       Lincoln-Mercury            Inc. ;


Sydney    Holdings    of    Eden    Valley       LLC;      Sydney      Holdings        of   IGH     LLC;


Walden    Auto    Leasing    IV,    Inc.;        Walden      Fleet      Group,        Inc. ;    Walden


Fleet    Sales    Group,    Inc.;    Walden          Fleet    Services         II,    Inc. ;    Walden


Investment       Company;        Walden    Leasing,          Inc.;       and     Walden        Payroll


Services LLC,      including their subsidiaries and/or holding companies


and related companies,            hereby assigns and transfers to the United


States    of America,       all    rights       and   interest         to   any      Assets    of    the


above-referenced       entities       or    their        subsidiaries             and/or       holding


companies    and    related       companies.          In     this      Stipulation,         the     term


"Assets"    includes       any    claims    of    the    above-referenced              entities to


insurance    payments,      warranty payments                or   other causes          of     action,


including the proceeds of such claims.


        Defendant states that to the best of his present recollection


and knowledge,      and without access to relevant corporate documents,


none of the specific Assets listed above are encumbered by liens,


pledged as collateral or have other clouds on title or ownership.


Many of the entities listed above are indebted to creditors;                                      thus,


those entities may be subjected to liens or judgments.


     Further,      by defendant's signature below,                      defendant personally


and as owner and/or officer of the above-referenced entities hereby


abandons    all    right,    title        and    interest         to    the    above-referenced




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Assets and waives any right to assert such interests in any forum


whatsoever or to appeal or otherwise challenge                          the disposition of


the    Assets     by    the   Court    on   the     basis    of       this   Stipulation       or


otherwise.


       The proceeds from insurance,                warranty or other claims owed to


the above-referenced entities or their subsidiaries and/or holding


companies       shall   be    paid   over to   the    Clerk      of   U.S.   District Court


pursuant to Order of the Court in this matter for disbursement for


restitution.


       Hecker signs this Stipulation in his capacity as a director of


the   above-referenced          entities.      Hecker       is   no    longer     an   owner   or


stockholder of the entities; instead,                 his former personal ownership


interest in the entities is now the property of,                        and controlled by,


his bankruptcy estate.           Hecker has not been authorized to sign this


Stipulation by his bankruptcy Trustee and does not in any way seek


to diminish the Trustee's valuable interest,                      if any,     in any of the


above-referenced entities,             or to otherwise prejudice any interest


that the Trustee may assert in these Assets or entities.


       The parties agree that this Stipulation is without waiver or


prejudice       to    the   rights    and   interests       of    any    creditor      or   lien


claimant of Hecker or the above-referenced entities listed herein


in    or   to   the    Assets   or   any    proceeds    transferred          to   the    United


States     pursuant      to   this   Stipulation.       The       parties     further       agree


that any creditor or party claiming a lien or security interest in




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the   Assets   may   petition       the   Court    for    a   determination     that   its


rights or interests have priority over the interests of the United


States,   parties entitled to restitution,                 or other creditors.


      The parties agree that the Court may enter the attached Order


without further notice or hearing to the parties.




Dated:
                                                              UZY,    ESQ./
                                          Law Offi es of Williarh J. Mauzy
                                          Email:    wmauzy®mauzylawfirm.com
                                          510 First Avenue North,             Suite 610
                                          Minneapolis,        MN 55403
                                          Ph:   612-340-9108




Dated:    1d, ruA.r '1 11 1 �0 I)         B. TODD JONES
                                          United States Attorney




                                          ·.�a_�
                                          BY:   NICOLE A.      ENGISCH
                                          Assistant U.S. Attorney
                                          Attorney       ID No. 215284
                                          Email:   nicole.engisch®usdoj.gov
                                          600 U.S. Courthouse
                                          300 South 4th Street
                                          Minneapolis,        MN     55415
                                          612-664-5600




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                                                                         Exhibit B-13
Owner - Legal
Entity
HC = Holding                  Begin     Ending Description HC =              DEH Direct    Other DEH DEH Entities                Other DEH     Single Asset
Company             FEIN      Date       Date  Holding Company              Ownership%     Entities %    Comment     DEH Equity Entity Equity R/E Entity (Y/N)
ABLAKE, L.L.C.                                 Abra Auto Body & Glass           0%                50% Walden             0            0             N
                                               store in Forest Lake, MN                               Investment
                                                                                                      Company

Advantage          20-       04/30/07           Shell company formed to          0%            100% ARC Venture           0            0             N
Auxiliary Services 8963982                      provide support services                            Holding, Inc.
LLC (f/k/a                                      for Advantage
Advantage                                       Franchises
Services LLC)




Advantage        26-         11/20/07           Advantage payroll                0%            100% Southwest-Tex         0            0             N
Delaware         1455945                        services company.                                   Leasing Co.,
Management                                                                                          Inc.
Services LLC
(f/k/a Advantage
Management
Services LLC)




Advantage          26-       09/12/07           Advantage RAC                    0%            100% ARC Venture           0            0             N
Licensing          1084050                      international franchising                           Holding, Inc.
International Inc.                              entity (shell).
(f/k/a Advantage
Licensing of
Canada Inc.)




Advantage         20-        04/24/07           Advantage RAC                    0%            100% ARC Venture           0            0             N
Licensing LLC     8963834                       domestic franchising                                Holding, Inc.
                                                entity.


Advantage         26-        12/20/07           HC owns 100% of                 99%              1% Walden                0            0             N
Motors Holding    2086231                       Advantage Motors-                                   Investment
LLC                                             Airport LLC                                         Company



Advantage         26-        12/20/07           Owns closed Hyundai              0%            100% Advantage             0         (900,000)        N
Motors-Airport    2086590                       dealership in Englewood,                            Motors Holding
LLC                                             CA.                                                 LLC


Advantage Touch 20-          02/09/07           Automobile detailing /          99%              1% Walden                0            0             N
LLC             8434091                         windshield / dent                                   Investment
                                                removal company                                     Company
                                                (closed)


ANC Investments 59-          05/23/03           Stock Investment in             91%              5% Rosedale              0            0             N
LLC             3775569                         Alamo National, which                               Dodge, Inc.
                                                sold to Enterprise. Final
                                                payment received 3-19-
                                                09.

ARC Venture       03-        01/12/06           HC owns 100% of                 100%             0%                  (15,000,000)      0             N
Holding, Inc.     0578822                       Southwest-Tex Leasing
                                                Co., Inc. (Advantage
                                                Rent-A-Car) and related
                                                companies.




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Owner - Legal
Entity
HC = Holding                   Begin     Ending Description HC =               DEH Direct    Other DEH    DEH Entities               Other DEH     Single Asset
Company              FEIN      Date       Date  Holding Company               Ownership%     Entities %    Comment       DEH Equity Entity Equity R/E Entity (Y/N)
Austin Capital      41-       02/23/05           HC owns 50% of PCR               99%               1% Walden                0             0             N
LLC                 2168685                      Venture, LLC (holding                                 Investment
                                                 company for 2 Payless                                 Company
                                                 Car Rental franchises in
                                                 Denver & Phoenix) and
                                                 100% Payless
                                                 Minneapolis (Host
                                                 Acquisition)

Auto Enterprises              03/25/05           Holding company for              100%              0%                       0             0             N
of California LLC                                Autocal, LLC & Autocal
                                                 South, LLC


Autocal South,      80-       11/05/03   May-06 Hyundai auto dealership            0%             100% Auto                  0             0             N
LLC f/k/a Tustin    0108453                     in Irvine, CA                                          Enterprises of
Imports, LLC                                                                                           California LLC


Autocal, LLC        41-       10/17/03           Closed Dodge / Hyundai            0%             100% Auto                  0        (6,510,000)        N
                    2125156                      dealership in Redwood                                 Enterprises of
                                                 City, CA.                                             California LLC


Automotive          41-       01/15/99           Closed Car Finance               100%              0%                       0             0             N
Credit Super        1934594                      Company.
Store, Inc.


Baxter Imports      20-       03/29/07           Closed Hyundai                   99%               1% Walden             (445,500)     (4,500)          N
LLC                 8814924                      Dealership in Brainerd,                               Investment
                                                 MN                                                    Company


Bellanotte                                       Bellanotte Restaurant             0%              51% Jacob Holdings        0         (285,600)         N
Hospitality, LLC                                                                                       of Bellanotte
                                                                                                       LLC

Belwin LLC                                       Owns Champps                     33%               0%                    (566,667)        0             N
                                                 Restaurant in Des
                                                 Moines, IO


Brainerd Imports 20-          09/13/06           Toyota Dealership in             99%               1% Inver Grove        792,000        8,000           N
LLC (f/k/a       5610365                         Brainerd, MN                                          Investments,
Brainerd Toyota                                                                                        Inc.
LLC)

Brighton                                         Owns Champps                     33%               0%                    (686,667)        0             N
Ventures LLC                                     Restaurant in New
                                                 Brighton, MN


CA Acquisition    20-         01/20/05           Shell company formed to           1%              99% Walden                0             0             N
LLC (f/k/a Austin 5964584                        purchase aircraft position                            Investment
Capital LLC)(MN)                                 (terminated)                                          Company


Clearwater Retail                                100% Invesment in                33%                                     (16,000)         0             Y
Center LLC                                       9,900 sf retail center at
                                                 800 Nelson Drive in
                                                 Clearwater, MN.

Coast Leasing       33-       12/23/98           Advantage Rent A Car -            0%             100% Southwest-Tex         0             0             N
Corp.               0826946                      California                                            Leasing Co.,
                                                                                                       Inc.




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Corporate Motors 20-        09/29/05          Corporate car program             0%             100% Walden Fleet          0             0             N
LLC              3549311                      for businesses (in wind                               Sales Group,
                                              down mode).                                           Inc.

DEH Family        20-       08/16/05          Senior Management                99%               1% Walden             (990,000)    (10,000)          N
Holdings LLC      3312078                     Services Company - No                                 Investment
                                              Assets.                                               Company


DEH Funding       20-       10/25/05          Finance Notes                    99%               1% Walden            (2,925,438)   (29,550)          N
LLC               3679546                     Receivable -                                          Investment
                                              Rogers/Delano/others                                  Company

DEH Properties    41-       06/27/97          Holding Company (write-          99%               1% Walden              92,070        930             N
LLC               1879904                     off) - Commercial                                     Investment
                                              property at 500 Ford                                  Company
                                              Road Building w/16,489
                                              sf and Land w/1.204
                                              acre. Returned to
                                              Bremer Bank due to
                                              defaults and inability to
                                              pay. 1-year lease signed
                                              at $5,000/month.

Dennis E. Hecker N/A                          Bayort Condo - Personal          100%              0%                    (50,100)         0             N
                                              property of Dennis
                                              Hecker at 106 Mariner
                                              Way in Bayport, MN


Dennis E. Hecker N/A                          Bayort Condo - Personal          100%              0%                    (179,600)        0             N
                                              property of Dennis
                                              Hecker 205 Mariner Way
                                              in Bayport, MN


Dennis E. Hecker N/A                          4 St. Croix Boat Slips -         100%              0%                    130,000          0             N
                                              owns B28, B36, B46 &
                                              B47 through Bayport
                                              Marina Association, Inc.
                                              that are leased out to 3rd
                                              parties.


Dennis E. Hecker N/A                          Oceanaire Restauarant            100%              0%                    180,000          0             N
                                              Stock


Dennis E. Hecker N/A                          Personal Property of             100%              0%                    (106,654)        0             N
                                              Dennis Hecker at 1615
                                              Northridge Drive-Home
                                              Equity Line

Dennis E. Hecker N/A                          Apollo Diamond Stock             100%              0%                     45,000          0             N


Dennis E. Hecker N/A                          Boat - 52' Hatteras              100%              0%                    (80,000)         0             N


Denny Hecker & 25-          12/02/04          Holding company for               0%              67% Hecker &              0             0             N
Holmers         1906231                       various real estate                                   Holmers
Commercial Real                               projects (negative                                    Holding
Estate Company                                equity).                                              Company LLC
LLC




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Denny Hecker & 86-            06/16/04            Closed residential real           0%             100% Hecker &              0             0             N
Holmers Real   1108322                            estate company.                                       Holmers
Estate Company                                                                                          Holding
LLC                                                                                                     Company LLC


Denny Hecker        92-       12/23/03   Oct-08   Closed mortgage                  99%               1% Walden                0             0             N
Mortgage LLC        0181129                       origination company.                                  Investment
                                                                                                        Company


Denny Hecker    20-           11/29/06            Owns 100% of Twin City           99%               1% Walden                0             0             N
Real Estate     5957745                           Homes, LLC / GMAC                                     Investment
Holding Company                                   Real Estate, a residential                            Company
LLC                                               real estate brokerage
                                                  firm. (Operations
                                                  ceased)

Denny Hecker's      37-       01/27/04            Management services              100%              0%                   (4,910,000)       0             N
Automotive          1483418                       company - limited
Group, Inc.                                       assets.

Denny Hecker's 30-            11/06/03            Operated various used             0%             100% Rosedale              0             0             N
Bargain         0214548                           car bargain lots (closed                              Dodge, Inc.
Connection, LLC                                   by CFC)

Denny Hecker's 41-            08/19/70            Owned closed GM                  100%              0%                    203,000          0             N
Cadillac-Pontiac- 0964424                         dealership in Stillwater,
GMC, Inc. (f/k/a                                  MN.
Rouston Motors,
Inc. f/k/a Routson
Chevrolet-
Oldsmobile, Inc.
f/k/a Rouston-
Hitchcock
Motors, Inc.




Denny Hecker's 26-            10/09/07            Closed mortgage                  75%               0%                       0             0             N
Home Loans LLC 1198015                            origination company.



Den-Star            41-       12/22/92            HC Owns 100% of Den-             100%              0%                    (150,000)        0             N
Management,         1740821                       Star of Minnesota LLC
Inc. (f/k/a Den-
Star Aviation,
Inc.)


Den-Star of         26-       05/18/05            Entity owned Challenger           0%             100% Den-Star              0         (2,500,000)       N
Minnesota LLC       0558471                       601 (N1DH) - voluntarily                              Management,
                                                  surrendered to GE.                                    Inc.


Dentod          26-           07/11/07            Owns 51% of Superior             50%               0%                       0             0             N
Investments LLC 0521889                           Executive Search and
                                                  Consulting, LLC, a
                                                  discontinued executive
                                                  recruitment firm.

DH Capital          74-       01/07/03            Shell company - no               100%              0%                       0             0             N
Holdings LLC        3075578                       activity
f/k/a DH Family
Holdings LLC



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EagleRider         26-       08/07/07   Nov-08 Motorcycle wholesale               0%               0%                       0             0             N
Finance LLC        0673024                     lease finance company.


Eden Prairie Auto 41-        09/30/02           Owns commercial real             50%              50% WBDH Realty,       (271,546)    (271,546)         N
Properties, LLP 1747268                         estate in Eden Prairie,                               LLP
                                                MN

Equitable Trade    20-       10/05/05    2008   Shell                                                                       0             0             N
& Capital LLC      3589119

EZ Purchase LLC 75-          07/09/04           Shell                            99%               1% Walden                0             0             N
                3161251                                                                               Investment
                                                                                                      Company

Floral Leasing     20-       07/12/06           Advantage Rent A Car -            0%             100% Southwest-Tex         0             0             N
Corp.              5204472                      Florida                                               Leasing Co.,
                                                                                                      Inc.


Folks Home LLC               08/21/02           Senior Living                    100%              0%                       0             0             N
                                                Townhome, personal
                                                property of Dennis
                                                Hecker at 17870 38th
                                                Avenue North, Plymouth,
                                                MN (sold 3-16-09)



Forest Lake       41-        09/27/01           Closed Mitsubishi                 0%             100% Lake Country          0             0             N
Imports LLC f/k/a 2019400                       dealership in Forest                                  Auto Center,
Forest Lake                                     Lake, MN                                              Inc.
Mitsubishi LLC



Freedom First      84-       04/05/04           Subprime Auto Finance            70%               0%                    (59,500)         0             N
Financial LLC      1642788                      Company


H & H Holdings     35-       10/26/04    2007   Owned Real Estate                 0%             100% Hecker &              0             0             N
of Crow Wing       2240569                      asset in Cross Lake, MN                               Holmers
LLC                                                                                                   Holding
                                                                                                      Company LLC


H & H Realty of 20-          07/19/05           Owned Cross Lake                  0%             100% Hecker &              0         (400,000)         Y
34970 East      3162571                         Property sold - amounts                               Holmers
Shore Boulevard                                 due from parent holding                               Holding
LLC                                             company if value exists.                              Company LLC




H & H Realty of    20-       04/28/05           Owns 66.67% of Terrace           75%               0%                       0             0             N
Bonita Springs     5658336                      at Windsor LLC
LLC                                             (development property in
                                                Florida subject to lawsuit
                                                and foreclosure action)



H & H Realty of    20-       05/18/05           Owns 13881 Edgewater              0%             100% Hecker &              0          94,000           Y
Crosslake LLC      3152131                      Lane, Crosslake, MN                                   Holmers
                                                                                                      Holding
                                                                                                      Company LLC




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Company             FEIN      Date       Date  Holding Company              Ownership%     Entities %    Comment         DEH Equity Entity Equity R/E Entity (Y/N)
H & H Realty of    20-       07/22/05          Owned 40 Acres of                 0%             100% Denny Hecker &          0        (1,977,494)        Y
Delano LLC         3213562                     Residential Development                               Holmers
                                               located at 9491 County                                Commercial Real
                                               Road 16 SE in Delano,                                 Estate Company
                                               MN - lots for sale or                                 LLC
                                               investment


H & H Realty of              05/26/05          Shell                             0%               0%                         0             0             N
Hanover LLC


H & M Holdings     20-       04/10/06          ITR Group, Inc.                  50%               0%                      171,750          0             Y
of Mendota LLC     4713635                     Corporate Building -
                                               Building 14,301 sf / Land
                                               1.6acres located at 2520
                                               Lexington Avenue S,
                                               Mendota Heights Office
                                               Center


H & M of 79th                05/18/05          Shell                             0%               0%                         0             0             N
Street LLC

H & R Realty of    32-       12/12/05          Owns Four townhomes              50%               0%                      (36,500)         0             N
Whisperwood        0166926                     at Whisper Woods, Ft.
LLC                                            Myers, FL

Hecker &        86-          06/09/04          HC Owns various LLC              50%               0%                         0             0             N
Holmers Holding 1108323                        Interests
Company LLC



Hecker &                     05/04/05          Shell                             0%               0%                         0             0             N
Holmers Holdings
of Chanhassen
LLC



Hecker Capital,    61-       04/27/05          Investment Company w/            99%               1% Walden Investment       0             0             N
L.L.C.             1487642                     limited assets                                        Company



HH&C Realty of     86-       03/07/05          Shell                             0%             100% Denny Hecker &          0             0             N
Bonita Springs     1156875                                                                           Holmers
LLC                                                                                                  Commercial Real
                                                                                                     Estate Company
                                                                                                     LLC

HHR of Copper      20-       11/17/04          5 Properties in Florida -        99%               1% Walden Investment    (83,655)       (845)           N
Oaks LLC (f/k/a    5087748                     Loan was modified at the                              Company
Jacob Holdings                                 acquisition of the 4 units
of MPP                                         at Whisper Woods and
Properties LLC)                                Chrystal Terrace.
                                               Cooper Oaks property is
                                               located at 10233 S.
                                               Golden Elm Drive,
                                               Estero, FL (residential
                                               homes)




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HHR Real Estate               11/20/07          Owned various purchase         20%               0%                          0             0             N
Ventures, LLC                                   agreements on condo
                                                developments - all PA's
                                                terminated and deposits
                                                lost



HK Investments      26-       10/22/07          Shell                           0%             100% Jacob Food Service       0             0             N
LLC                 2125599                                                                         Holdings LLC


HogRider          26-         06/01/06          Owns 14.55% stock              100%              0%                       4,000,000        0             N
Investments LLC 1282307                         Investment in JC
(f/k/a EagleRider                               Bromac Corporation,
Investments LLC)                                EagleRider, Inc. and
                                                Eagle Travel Systems,
                                                Inc.

Host Acquisition    20-       08/14/72          Owns Payless Car                0%             100% Austin Capital LLC       0             0             N
LLC                 5275795                     Rental Minneapolis

Hudson Auto        39-        06/02/05          Operating in Closed            100%              0%                          0             0             N
Sales, Inc. f/k/a 1180770                       used car lot (GM
Denny Hecker's                                  Franchise sold 2007)
Gilbert Motors,
Inc. f/k/a Gilbert
Motors, Inc. f/k/a
Gilbert's Garage,
Inc.


Hunter Ridge        20-       09/19/08          Various illiquid stock         50%               0%                        4,500           0             N
Partners LLC        3507002                     investments


Iliad Leasing       26-       11/07/07          Advantage Rent A Car -          0%             100% Southwest-Tex            0             0             N
Corp.               1373499                     Illinois                                            Leasing Co.,
                                                                                                    Inc.

iMinute Tracker     26-       03/18/03          Ownership in software           0%              50% Dentod Investments       0             0             N
LLC                 3460803                     development contract                                LLC



Inver Grove         71-       04/19/01          HC ownership in Inver          99%               1% Inver Grove              0             0             N
Holdings LLC        0942751                     Grove Motors LLC                                    Investments, Inc.




Inver Grove     75-           01/19/06          Owned Prevost bus -            100%              0%                          0             0             N
Investments LLC 3207434                         sold

Inver Grove       43-         06/27/02          HC owns 1 % of Inver           100%              0%                          0             0             N
Investments, Inc. 2094823                       Grove Holdings LLC and
                                                Brainerd Imports LLC
                                                (operating)

Inver Grove         04-       06/27/97          Owned Toyota                    0%             100% Inver Grove              0             0             N
Motors LLC          3707195                     Dealership in Inver                                 Holdings LLC
                                                Grove Heights, MN sold
                                                6-19-09.




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ITR Group, Inc.     41-       01/18/07            Technology /                  50%               0%                        400,000          0             N
                    1881754                       management consulting
                                                  and mobility software
                                                  development company.


ITR Mobility LLC              10/02/07            Software development           0%             100% ITR Group, Inc.           0             0             N
                                                  company

JAA 2011 LLC        26-       01/09/07            Aircraft Position             100%              0%                       (1,000,000)       0             N
                    1209136

JAA 300 LLC         20-       01/09/07   Oct-07   Owned Bombardier                                                             0             0             N
(membership and 8233188                           Challenger 300 BD-100-
aircraft interests,                               1A10
sold October,
2007)

JAA X LLC           26-       11/13/07            Shell                          0%             100% Den-Star                  0             0             N
(formerly JAA       1406900                                                                          Management, Inc.
605 LLC)


Jacob            84-          01/25/05            Shell                         99%               1% Walden Investment         0             0             N
Acquisitions LLC 1668220                                                                             Company



Jacob Advertising 36-         03/17/04            Shell                          0%             100% Denny Hecker's            0             0             N
LLC               4551091                                                                            Automotive Group,
                                                                                                     Inc.




Jacob Aircraft      20-       07/11/05   Jul-07   Owned Aircraft - Assets                                                      0             0             N
Acquisition LLC     3135157                       sold

Jacob Aviation of 82-         12/26/02   Jul-07   HC owning interests in                                                       0             0             N
Minnesota LLC     0578293                         Aircraft - Special
                                                  purpose entities

Jacob Food       26-          11/20/07            Owns member units in          99%               1% Walden Investment         0             0             N
Service Holdings 1604755                          various hospitality                                Company
LLC                                               related companies

Jacob Holding       27-       03/08/04   Aug-08   Formed to purchase real                                                      0             0             N
LLC                 0083708                       estate - transaction
                                                  terminated

Jacob Holdings      41-       08/23/00            Owned closed Stillwater        0%             100% Jacob Properties of       0         (955,811)         N
of 60th Street      1990748                       Ford (Was Cadillac)                                Minnesota LLC
LLC


Jacob Holdings 90-            11/24/03            Inver Grove Toyota at          0%             100% Jacob Properties of       0         (240,000)         Y
of Akron Avenue 0125694                           4600 Akron Avenue,                                 Minnesota LLC
LLC                                               land 3.08 acres, bldg
                                                  18995 sq ft.

Jacob Holdings                02/13/06            Shell                         100%                                           0             0             N
of Aspen LLC




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Jacob Holdings 57-          06/18/04            Owned commercial reale         99%               1% Walden Investment         0             0             Y
of Audubon Way 1207474                          estate in Brainerd, MN                              Company
LLC f/k/a 5H
Investments LLC
and f/k/a
Advantage
Holdings LLC)

Jacob Holdings    11-       12/21/05            Owned Investment                0%             100% Jacob Properties of       0             0             Y
of Barbeau LLC    3765919                       Property with existing                              Minnesota LLC
                                                home of 19.27 acre at
                                                16929 State Highway
                                                371 in Baxter, MN

Jacob Holdings    20-       12/15/06            Brainerd Imports LLC -          0%             100% Jacob Properties of       0          600,000          Y
of Baxter LLC     8067988                       Brainerd Toyota                                     Minnesota LLC




Jacob Holdings 20-          12/12/06            Owns 51% interest in            0%             100% Jacob Food Service        0             0             N
of Bellanotte LLC 8027089                       Bellanotte Hospitality                              Holdings LLC
                                                LLC




Jacob Holdings 20-          06/19/06   Aug-08   Formed to purchase              0%             100% Jacob Properties of       0             0             N
of Blackduck LLC 5088136                        Commercial Real Estate                              Minnesota LLC
f/k/a Jacob                                     (Terminated)
Holdings of
Hutchinson LLC


Jacob Holdings    37-       12/24/03            Owns closed Blaine              0%             100% Jacob Properties of       0         (825,899)         Y
of Blaine LLC     1481582                       Bargain Lot at 9901                                 Minnesota LLC
                                                Central Avenue NE,
                                                Blaine, MN.




Jacob Holdings    87-       06/25/04    2006    Owned Real Estate               0%             100% Jacob Properties of       0             0             N
of Bohns Point    0728275                       property in Minnetonka                              Minnesota LLC
LLC




Jacob Holdings    41-       01/03/00    2007    Owned Commercial Real           0%             100% Jacob Properties of       0             0             N
of Buffalo LLC    1958635                       Estate property in                                  Minnesota LLC
                                                Buffalo, MN




Jacob Holdings 41-          01/03/00            Owns closed Burnsville          0%             100% Jacob Properties of       0          125,130          Y
of Burnsville LLC 1958632                       Bargain Lot                                         Minnesota LLC




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Company            FEIN      Date       Date  Holding Company                Ownership%     Entities %    Comment           DEH Equity Entity Equity R/E Entity (Y/N)
Jacob Holdings 47-          05/24/02           Parcel 1- Service                 0%              100% Jacob Properties of       0         (50,000)          N
of Country Road 0868043                        Garage 2.07 acres with                                 Minnesota LLC
36 LLC                                         service buliding of 1,920
                                               sf, Parcel 2-Car Wash
                                               (vacant)1.03 acrers with
                                               car wish building of ,120
                                               sf, Parcel 3 - home with
                                               1.38 acres


Jacob Holdings 47-          05/24/02           Residential Property -            0%              100% Jacob Properties of       0           8,800           N
of Country Road 0868043                        Vacant home with 1.03                                  Minnesota LLC
36 LLC                                         acres located at 33910
                                               County Road 3 in
                                               Crosslake




Jacob Holdings 41-          09/11/00           Crosslake Land                    0%              100% Jacob Properties of       0         (50,000)          N
of Crosslake LLC 1990953                       purchased for future                                   Minnesota LLC
                                               commercial development
                                               w/1.03 acres located at
                                               33910 County Road 3


Jacob Holdings 41-          09/11/00           Residential Property in           0%              100% Jacob Properties of       0         (455,000)         N
of Crosslake LLC 1990953                       CrossLake, MN - (Tract                                 Minnesota LLC
                                               B) at 11706 Cross
                                               Avenue, and Guest
                                               Homes (Tract A) at
                                               11614 Echo Bay Drive
                                               and (Tract C) at 11700
                                               Cross Avenue

Jacob Holdings    16-       10/28/03    2008   Owned Residential land                                                           0             0             Y
of East Shore     1687023                      in Cross Lake, MN - Sold
Road LLC




Jacob Holdings 26-          06/05/07           Land investment                   0%              100% Jacob Properties of       0          58,000           N
of Edgewood LLC 0291131                        property-Christiansen                                  Minnesota LLC
                                               Parcel in Baxter, MN on
                                               Highway 371 - Parking
                                               Lot 1.24 acres (54136 sf)-
                                               Brainerd Toyota


Jacob Holdings 26-          06/05/07           ARK Investment Parcel,            0%              100% Jacob Properties of       0         (162,000)         N
of Edgewood LLC 0291131                        Land-1.2 acres located                                 Minnesota LLC
                                               off Highway 371 N, next
                                               to B Toyota


Jacob Holdings    41-       11/14/00           Owns closed Forest                0%              100% Jacob Properties of       0          785,591          N
of Forest Lake    1992893                      Lake dealership property                               Minnesota LLC
LLC                                            at 322 and 334 19th St.
                                               SW.


Jacob Holdings    03-       10/13/03           Shell                             0%              100% Jacob Properties of       0             0             N
of Fridley LLC    0530709                                                                             Minnesota LLC
f/k/a Jacob
Holdings of
GoldenValley,
LLC



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Company                FEIN      Date       Date  Holding Company                Ownership%     Entities %    Comment           DEH Equity Entity Equity R/E Entity (Y/N)
Jacob Holdings                   2008              SHELL - Did not own any                                                          0             0             N
of Hallmark LLC                                    assets




Jacob Holdings 42-              12/07/04    2007   Owned certain real                                                               0             0             N
of Hidden Valley 1653179                           property
Trail LLC



Jacob Holdings        42-       12/30/02           Inver Grove Toyota real           0%              100% Jacob Properties of       0             0             Y
of Highway 110        1568211                      estate - sold 6-19-09                                  Minnesota LLC
LLC



Jacob Holdings        20-       01/10/07           Baxter Bargain Lot                0%              100% Jacob Properties of       0         (133,833)         Y
of Highway 371        8233154                                                                             Minnesota LLC
LLC



Jacob Holdings        41-       05/31/00           Owns closed Hudson,               0%              100% Jacob Properties of       0         (16,256)          Y
of Hudson LLC         1974577                      WI dealership property                                 Minnesota LLC
                                                   on Coulee Road (under
                                                   purchase agreement)


Jacob Holdings                  05/30/03           Shell - Transaction did           0%              100% Jacob Food Service        0             0             N
RI,NH¶V//&IND                                not complete                                           Holdings LLC
Jacob Holdings
of Palm Desert
LLC


Jacob Holdings        03-       02/27/02           Owns Southview                    0%              100% Jacob Properties of       0         (397,811)         Y
of Inver Grove        0409908                      Chevrolet dealership                                   Minnesota LLC
LLC                                                property (to be leased to
                                                   Walser in connection
                                                   with dealership sale, with
                                                   purchase option)

Jacob Holdings        75-       07/15/04           Owned dealership real             0%              100% Jacob Properties of       0             0             N
of Irvine LLC         3161253                      estate for closed Irvine                               Minnesota LLC
                                                   Hyundai dealership

Jacob Holdings 20-              04/19/06           100 % Investment in               99%               1% Walden Investment      (99,000)      (1,000)          Y
of Lakeland LLC 8874241                            Residential Development                                Company
                                                   in Lakeland, Minnesota
                                                   (3 residential lots)


Jacob Holdings        27-       03/27/03           Owns closed Rosedale              0%              100% Jacob Properties of       0         1,032,126         Y
of Long Lake          0052027                      Dodge dealership                                       Minnesota LLC
Road LLC                                           property



Jacob Holdings        20-       08/02/06           Vacant- Was Maplewood             0%              100% Jacob Properties of       0          (2,274)          Y
of Maplewood          5304191                      Bargain Lot - land .63                                 Minnesota LLC
LLC                                                acre, building 2037 sq ft,
                                                   shet 102 sq ft located at
                                                   135 Century Avenue
                                                   North




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Jacob Holdings      82-       10/07/02           Owned DEH Personal             100%               0%                       (7,000,000)       0             Y
of Medina LLC       0568973                      Residence on 1492
                                                 Hunter Drive Medina,
                                                 MN


Jacob Holdings 01-            01/29/04           Owned Inver Grove               0%              100% Jacob Properties of       0         (353,680)         Y
of Mendota Road 0805025                          Volkswagon dealership                                Minnesota LLC
LLC                                              property (subject to
                                                 lease with option to
                                                 purchase with Twin
                                                 Cities Automotive)

Jacob Holdings      26-       06/30/05           Owned termintated               99%               1% Walden Investment         0             0             N
of Monarch LLC      1326783                      purchase option on                                   Company
                                                 Aspen condo



Jacob Holdings 41-            09/11/00           Owned closed Monticello         0%              100% Jacob Properties of       0         1,142,215         N
of Monticello LLC 1982884                        dealership property.                                 Minnesota LLC




Jacob Holdings 41-            09/11/00           Raw Land-Gutzwiller             0%              100% Jacob Properties of       0         (1,873,890)       N
of Monticello LLC 1982884                        Property located at 3936                             Minnesota LLC
                                                 W. Chelsea Road in
                                                 Monticello


Jacob Holdings      86-       06/16/04           Owns 100% investment            50%               0%                        400,000          0             N
of Nestor Falls,    1108324                      in Shady Roost Lodge
Inc.                                             Corporation, a Nova
                                                 Scotia corporation that
                                                 owns the Shady Roost
                                                 Lodge fishing lodge in
                                                 Nestor Falls, Ontario.

Jacob Holdings      84-       01/25/05    2008   Assets sold                     0%              100% Jacob Properties of       0             0             N
of Northridge       1668224                                                                           Minnesota LLC
Drive LLC



Jacob Holdings      73-       11/08/04           Owns house at 6180              0%              100% Jacob Properties of       0          (24,500)         Y
of Oren Avenue      1722595                      Osgood Avenue North in                               Minnesota LLC
LLC                                              Stillwater, MN located
                                                 next to Cadillac



Jacob Holdings      32-       08/08/03           SHELL                           0%              100% Jacob Properties of       0             0             N
of Orlando LLC      0090498                                                                           Minnesota LLC




Jacob Holdings      45-       06/27/02           Owned corner parcel for         0%              100% Jacob Properties of       0             0             Y
of Osgood           0484575                      closed Stillwater Ford                               Minnesota LLC
Avenue LLC                                       dealership under
                                                 terminated contract for
                                                 deed

Jacob Holdings      20-       10/23/06           Owned Denny Hecker's            0%              100% Jacob Properties of       0         (210,000)         Y
of Pine City LLC    5800987                      Auto Mall-Pine City                                  Minnesota LLC




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Company             FEIN       Date       Date  Holding Company               Ownership%     Entities %    Comment           DEH Equity Entity Equity R/E Entity (Y/N)
Jacob Holdings 05-            09/07/04           Owned investment in              99%               1% Walden Investment         0             0             N
of Plymouth LLC 0608415                          TerraForm LLC, a real                                 Company
                                                 estate development
                                                 company that lost
                                                 property in foreclosure.
                                                 Assets sold.

Jacob Holdings 34-            04/22/04   Dec-07 Owned Commercial Real             0%              100% Jacob Properties of       0             0             N
of Redwood LLC 1991918                          Estate for Redwood City                                Minnesota LLC
                                                Dodge delaership



Jacob Holdings    75-         05/27/04           Owned 100 Acres of               0%              100% Hecker & Holmers          0        (1,727,494)        Y
of Rogers LLC     3158282                        Residential Development                               Holding Company
                                                 located in Rogers, MN                                 LLC
                                                 called Brockton
                                                 Meadows

Jacob Holdings 41-            09/11/00           Owns closed dealership           0%              100% Jacob Properties of       0          587,394          N
of Roseville LLC 1991111                         property in Roseville, MN                             Minnesota LLC




Jacob Holdings 41-            09/11/00           Additional land 1.161            0%              100% Jacob Properties of       0          24,500           N
of Roseville LLC 1991111                         acres, building 5,600 sq                              Minnesota LLC
                                                 ft. for Advantage Touch
                                                 LLC / Office Building at
                                                 2931 Partridge Road in
                                                 Roseville MN


Jacob Holdings 54-            10/14/03    2008   Shell                            0%              100% Jacob Properties of       0             0             N
of Salt Lake LLC 2131716                                                                               Minnesota LLC
f/k/a Jacob
Holdings of
Avondale, LLC


Jacob Holdings    84-         01/21/05           Owns closed dealership           0%              100% Jacob Properties of       0         2,480,715         Y
of Sandberg       1668226                        property in Monticello,                               Minnesota LLC
Road LLC                                         MN




Jacob Holdings 47-            03/10/05           Shell company formed to          0%              100% Jacob Properties of       0             0             N
of Shakopee LLC 0951803                          purchase real estate for                              Minnesota LLC
f/k/a Jacob                                      Shakopee dealership
Holdings of South                                from Chrysler Realty.
St. Paul LLC                                     Transaction never
                                                 closed.


Jacob Holdings 20-            10/25/05           Investment Townhome              0%              100% Jacob Properties of       0         (114,000)         N
of Silver Cliff LLC 3679600                      from Silver Cliff                                     Minnesota LLC
                                                 Properties (beach
                                                 homes) in Two Harbors,
                                                 MN at 1816 Silver Cliff
                                                 Road #6
Jacob Holdings 20-            10/25/05           2 Investment                     0%              100% Jacob Properties of       0         (305,000)         N
of Silver Cliff LLC 3679600                      Townhomes from Silver                                 Minnesota LLC
                                                 Cliff Properties (beach
                                                 homes) in Two Harbors,
                                                 MN at 1759, Unit #0 and
                                                 1761 Unit #1 on Silver
                                                 Cliff Road



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Jacob Holdings     41-       04/13/01          Owns former Inver               0%              100% Jacob Properties of       0          862,156          Y
of South Robert    2002621                     Grove Hyundai                                        Minnesota LLC
Trail LLC                                      dealership real estate,
                                               currently leased to Twin
                                               Cities Automotive.

Jacob Holdings 01-           03/24/05          Bargain Connection-St.          0%              100% Jacob Properties of       0             0             N
of St. Cloud LLC 0832021                       Cloud Bargain Lot -                                  Minnesota LLC
                                               rented to 3rd party




Jacob Holdings 41-           01/06/00          Owns office building in         0%              100% Jacob Properties of       0         (379,779)         Y
of St. Louis Park 1959715                      St. Louis Park, MN                                   Minnesota LLC
LLC




Jacob Holdings 41-           06/10/98          Lang Parcel at 22510            99%               1% Walden Investment      (124,740)     (1,260)          N
of Stillwater LLC 1912151                      Everton Ave N, & Long                                Company
                                               Parcel at 22552 Everton
                                               Ave N in Forest Lake,
                                               MN land purchased for
                                               future development
                                               (deed in lieu to bank)



Jacob Holdings     20-       12/19/06          50% Investment in               0%              100% Jacob Food Service        0          299,000          N
of Stimson LLC     8233104                     Stimson Partners LLC, a                              Holdings LLC
                                               special purpose real
                                               estate holding company
                                               that owns a 15,000 sf
                                               building at 700 Hennepin
                                               Avenue leased to Seven
                                               Steakhouse and Sushi.


Jacob Holdings     25-       04/05/05          Owned Advantage Rent            0%              100% Jacob Properties of       0         (620,000)         N
of Texas LLC       1916577                     A Car rental facility in                             Minnesota LLC
f/k/a Jacob                                    San Antonio, TX and
Holdings of                                    Harlingen, TX. Property
Central Avenue                                 in San Antonio
LLC                                            foreclosed 2-09 and
                                               Harlingen sold 3-09.

Jacob Holdings     26-       08/08/07          Owns Commercial real            0%              100% Jacob Properties of       0          128,000          Y
of UpNorth LLC     0675879                     estate leased to Hyundai                             Minnesota LLC
                                               of Brainerd Baxter


Jacob Holdings 26-           11/15/07          Personal Property of            0%              100% Jacob Properties of       0          200,000          Y
of Ventanas LLC 1420350                        DEH - Condo Residence                                Minnesota LLC
                                               at Las ventanas, Phase
                                               III, Unit 103, State of
                                               Baha California
                                               Sur,Mexico
Jacob Holdings     90-       11/20/03          Owns St. Cloud Hyundai          0%              100% Jacob Properties of       0         (446,940)         N
of Waite Park      0125699                     dealership rented to 3rd                             Minnesota LLC
LLC                                            party




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Jacob Holdings      90-       11/20/03           Owns 1.5 acre at 900              0%              100% Jacob Properties of       0         (310,000)         N
of Waite Park       0125699                      2nd Street South in                                    Minnesota LLC
LLC                                              Waite Park, a vacant
                                                 parcel adjacent to the St.
                                                 Cloud Hyundai
                                                 dealership leased to
                                                 Jacob Motors of St.
                                                 Cloud LLC.

Jacob Holdings 41-            09/14/00           Undeveloped lot in                0%              100% Jacob Properties of       0          46,500           Y
of Wisconsin LLC 1986469                         Wisconsin                                              Minnesota LLC
(f/k/a Jacob
Holdings of
Brainerd LLC)

Jacob Hospitality             05/12/05           Shell                             0%              100% Jacob Food Service        0             0             N
Management                                                                                              Holdings LLC
LLC f/k/a Jacob
Holdings of Cabo
LLC


Jacob Imports of 04-          09/23/03           Shell                             99%               1% Walden Investment         0             0             N
Minnesota, LLC 3776566                                                                                  Company
f/k/a Jacob
Imports of
Avondale, LLC
f/ka Jacob
Volkswagen of
Avondale, LLC

Jacob           43-           03/19/04           Formerly owned                    96%               0%                           0             0             N
Investments LLC 2047664                          $GYDQWDJHFRPVROGWR
                                                 Advantage Licensing
                                                 LLC in 2007. No assets.


Jacob Leasing       41-       06/23/00           SHELL                             99%               0%                           0             0             N
LLC                 1976579



Jacob Medical       16-       03/31/04    2007   Company formed to                 50%               0%                           0             0             N
Holdings LLC        1739776                      purchase Medical
                                                 Complex that did not
                                                 close - SHELL

Jacob Motors of     20-       01/30/07           Owned closed bargain              99%               1% Walden Investment         0             0             N
Baxter LLC          8349423                      lot dealership in                                      Company
                                                 Brainerd/Baxter, MN.


Jacob Motors of 20-           12/11/06           Owns closed hybrid car /          99%               1% Walden Investment         0             0             N
Bloomington LLC 8067810                          bargain lot dealership in                              Company
(f/k/a Advantage                                 Bloomington, MN.
Web Site
Optimzation LLC)


Jacob Motors of 61-           11/15/04           Shell company formed to           99%               1% Walden Investment         0             0             N
Brooklyn Park    1479479                         buy Brooklyn Park                                      Company
LLC (f/k/a Jacob                                 dealership that did not
Motors of Inver                                  close.
Grove LLC)




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Jacob Motors of    26-       07/17/07            Shell company formed to           99%               1% Walden Investment         0             0             N
Pine City LLC      0542057                       buy Pine City dealership                               Company
                                                 (existing Walden Fleet
                                                 Group, Inc. entity used
                                                 instead).

Jacob Motors of    20-       06/19/06            Owned closed Chrysler             99%               1% Walden Investment         0             0             N
Shakopee LLC       5088218                       dealership in Shakopee,                                Company
                                                 MN.

Jacob Motors of 86-          03/08/04            Owned Hyundai                     99%               1% Walden Investment      (194,040)     (1,960)          N
St. Cloud LLC     1100730                        Dealership in ST. Cloud,                               Company
(f/k/a Denny                                     MN - Sold
Hecker's Hyundai
of St. Cloud LLC)


Jacob Properties 03-         10/05/04            Personal Property of              99%               1% Walden Investment         0             0             Y
of Aspen, LLC    0549799                         Dennis Hecker through                                  Company
                                                 LLC - Top of Mill
                                                 Townhomes located at
                                                 917 S. Mil Street, Unit E,
                                                 in Aspen, CO - quit
                                                 claimed to secured
                                                 creditor

Jacob Properties 81-         06/04/04            Cabin on Long Lake                0%              100% Jacob Properties of       0           9,300           Y
of Long Lake LLC 0651019                         located at 15524 Co. 6 in                              Minnesota LLC
(f/k/a Sydney                                    Park Rapids, MN - quit
Holdings of                                      cleared to secured
Monticello LLC)                                  creditor


Jacob Properties 36-         12/31/03            HC owns LLC Interests             91%               5% Rosedale Dodge,           0             0             N
of Minnesota LLC 4548114                         in various real estate                                 Inc.
                                                 investment companies.




Jacob Properties 35-         11/29/05            Owned Scottsdale                 100%               0%                           0             0             N
of Scottsdale LLC 2264877                        residence sold in 2008.
                                                 Shell.




JAV II LLC         11-       06/17/05   Jun-05   Aircraft sold to Tom              0%              100% Jacob Aviation of         0             0             N
                   3753014                       Gonzales                                                  Minnesota LLC



Jazel Automotve              12/02/03    2007    Company Holding                  100%               0%                           0             0             N
Services, LLC                                    Dissolved - Shell
[California]



Jazel Automotve 90-          11/21/03    2007    SHELL                            100%               0%                           0             0             N
Services, LLC   0125703
[Minnesota]



Jazz Marketing               04/01/05            Shell                             0%                0%                           0             0             N
LLC




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Koch Group                                     Seven Steakhouse and             31%               0%                       (367,200)        0             N
Mpls, LLC                                      Sushi Restaurant




Lake Country      41-       08/14/78           Owns closed Chrysler            100%               0%                          0             0             N
Auto Center, Inc. 1333992                      dealership in Forest
(f/k/a Lake                                    Lake, MN.
Country Dodge,
Inc. f/k/a Lake
County Dodge
and Chrysler,
Inc.)

Lakes Leasing     20-       12/05/06           Advantage Rent A Car -           0%              100% Southwest-Tex            0             0             N
Corp.             5996738                      Minnesota                                             Leasing Co.,
                                                                                                     Inc.



LAS Rentals LLC              2005       2006   Owned interest in                0%              100% Austin Capital LLC       0             0             N
                                               Payless Las Vegas.
                                               Interest sold to Payless
                                               Corporate.


Legend Leasing    36-       06/26/98           Advantage Rent A Car -           0%              100% Southwest-Tex            0             0             N
Corp.             4332409                      Louisiana                                             Leasing Co.,
                                                                                                     Inc.



Medina          41-         11/15/01           Shell - to be dissolved          33%               0%                          0             0             N
Investments LLC 2021814




Michael Holdings 20-        02/09/05           20 acre parcel - Baxter,         50%               0%                       (240,000)        0             Y
of Baxter LLC    2258429                       MN located SW corner
                                               of Highway 371 and
                                               Highway 210


Mikden LLC        41-       04/13/01           Commercial real estate           50%               0%                       300,000          0             Y
                  2002620                      comprised of 2 buildings,
                                               18,358 sf and 6,000 sf,
                                               leased to Petco and
                                               AT&T, respectively in
                                               West St. Paul, MN



Mikden of Baxter 20-        05/19/05    2008   Owned Brainerd                   50%               0%                          0             0             N
Hotels LLC       3189168                       waterpark/hotel (assets
                                               surrendered).



Mikden of      84-          03/22/04           Minnetonka Office                50%               0%                       400,000          0             Y
Minnetonka LLC 1643491                         Building at 10159
                                               Wayzata Boulevard -
                                               Building 19,970 sf and
                                               Land 2.21 acres




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Company              FEIN      Date       Date  Holding Company              Ownership%     Entities %    Comment           DEH Equity Entity Equity R/E Entity (Y/N)
Mikden of                                       3.75 acre unimproved             50%               0%                        500,000          0             Y
Oakdale LLC                                     parcel in Oakdale, MN
                                                being developed for
                                                ground lease or build-to-
                                                suit.


Mikden of Ontario             05/07/04          Shell                            0%                0%                           0             0             N
LLC




Mikden of           56-       02/18/04          10.5 acre improved               50%               0%                        1,000,000        0             Y
Stillwater LLC      2439546                     parcel with 95,362 sf
                                                retail building leased to
                                                Herbergers in Stillwater,
                                                MN.

Miso Leasing        20-       01/20/06          Advantage Rent A Car -           0%              100% Southwest-Tex             0             0             N
Corp.               4235383                     Missouri                                              Leasing Co.,
                                                                                                      Inc.



Monticello Ford-    41-       10/27/00          Owned closed Ford                50%               0%                           0             0             N
Mercury, Inc.       1987273                     dealership in Monticello,
                                                MN.



Monticello Motors 41-         02/21/01          Owned closed Chrysler            99%               1% Walden Investment         0             0             N
LLC               2005264                       dealership in Monticello,                             Company
                                                MN.



Myth Financial   41-          11/15/01          Lindsey Lofts                    0%              100% Jacob Properties of       0           500             N
LLC (fka 5H      2021815                        Condominium at 408 1st                                Minnesota LLC
Investments LLC)                                Street North in
                                                Minneapolis, personal
                                                property of Dennis
                                                Hecker, currently leased
                                                to Greg Orthun.


Northstate          41-       03/23/84          Wholesale vehicle               100%               0%                       (1,350,000)       0             N
Financial           1502789                     finance company
Corporation



Nugget Leasing      74-       10/09/91          Advantage Rent A Car -           0%              100% Southwest-Tex             0             0             N
Corp.               2617483                     Nevada                                                Leasing Co.,
                                                                                                      Inc.



Okra Leasing        73-       04/08/93          Advantage Rent A Car -           0%              100% Southwest-Tex             0             0             N
Corp.               1423480                     Oklahoma                                              Leasing Co.,
                                                                                                      Inc.



Payless             34-       04/26/04          Shell                            99%               1% Walden Investment         0             0             N
Acquisition LLC     1991920                                                                           Company




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Company             FEIN      Date       Date  Holding Company                Ownership%     Entities %    Comment          DEH Equity Entity Equity R/E Entity (Y/N)
PCR Venture        47-       02/28/05    2008   Company formed to                 0%              100% PCR Venture LLC          0             0             N
Leasing LLC        0951804                      lease fleet to Payless
                                                Rental Operators



PCR Venture        11-       01/21/05           HC owns LLC interests             0%               50% Austin Capital LLC       0          112,500          N
LLC                3743203                      in Payless Car Rental
                                                Denver & Phoenix.



PCR Venture of 47-           02/28/05           Operates Payless Car              0%              100% PCR Venture LLC          0          112,500          N
Denver LLC (f/k/a 0951807                       Rentals location in
PCR Venture                                     Denver, CO.
Acquisition LLC)



PCR Venture of     83-       02/16/05    2007   Owned former Payless              0%              100% PCR Venture LLC          0             0             N
Ft Lauderdale      0419765                      Car Rental location in Ft.
LLC                                             Lauderdale (sold)



PCR Venture of                                  SHELL Company                     0%              100% PCR Venture LLC          0             0             N
Orlando LLC




PCR Venture of     38-       04/20/05           Operates Payless Car              0%              100% PCR Venture LLC          0          112,500          N
Phoenix LLC        3721128                      Rentals location in
                                                Phoenix, AZ.



PCR Venture of                2006              Shell Transaction was             0%              100% PCR Venture LLC          0             0             N
Tampa LLC                                       not completed




Philden of         20-       06/30/05           Lakeside Scenic Villas -          50%               0%                        (4,000)         0             N
Crosslake LLC      3115334                      Personal townhome
                                                located at 13833
                                                Crosslake Avenue # 2 in
                                                Crosslake, MN


Rainier Leasing    91-       02/26/90           Advantage Rent A Car -            0%              100% Southwest-Tex            0             0             N
Corp.              1590358                      Washington                                             Leasing Co.,
                                                                                                       Inc.



Reach                        04/30/02           Shell                             96%               0%                          0             0             N
Investments LLC
(f/k/a 5H
Properties LLC)


Rosedale Dodge 41-           08/25/95           Owned closed Hyundai              0%               90% Rosedale Dodge,          0             0             N
LLC            2003543                          dealership in Roseville,                               Inc.
                                                MN.



Rosedale Dodge, 41-          12/07/00           Operates Rosedale                100%               0%                          0             0             N
Inc.            1817926                         /HDVLQJRZQV//&
                                                interests, in wind down
                                                mode.



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Company               FEIN     Date       Date  Holding Company             Ownership%     Entities %    Comment           DEH Equity Entity Equity R/E Entity (Y/N)
Rosedale Fleet      26-       06/30/08          Shell company formed to         0%              100% Rosedale Dodge,           0             0             N
Leasing II LLC      2962301                     lease vehicles financed                              Inc.
                                                by Nissan Finance
                                                (never closed).


Rosedale            41-       06/26/00          Wholesale vehicle               0%              100% Rosedale Dodge,           0             0             N
Leasing LLC         1978153                     finance company                                      Inc.




Rosedale        20-           09/28/05          Vehicle leasing company         99%               1% Rosedale Dodge,           0             0             N
Leasing of      3587265                         (no assets)                                          Inc.
Minneapolis LLC



Rosedale            20-       06/13/05          Vehicle leasing company         99%               1% Rosedale Dodge,           0             0             N
Leasing of          3184933                     (no assets)                                          Inc.
Minnesota LLC



San Antonio      86-          12/15/89          Advantage Rent A Car -          0%              100% Southwest-Tex             0             0             N
Rental & Leasing 0647941                        Arizona                                              Leasing Co.,
Co., Inc.                                                                                            Inc.



Shady Roost         85820714 06/29/04           Owns fishing lodge in           0%              100% Jacob Holdings of         0         1,080,000         N
Lodge               5-                          Nestor Falls, Ontario.                               Nestor Falls LLC
Corporation         CANADA



Southview           41-       06/28/57          Owns closed GM                 100%                                         682,000          0             N
Chevrolet Co.       0795780                     Dealership in Inver
                                                Grove Hieghts, MN



Southwest-Tex     74-         02/24/82          Advantage Rent-A-Car            0%              100% ARC Venture               0             0             N
Leasing Co., Inc. 2242912                                                                            Holding, Inc.
and its
Subsidiaries


St. Cloud                     03/30/00          Shell                          100%               0%                           0             0             N
Acquisition Corp.




Stardot                       01/05/07          HC owns 50% interest in         50%               0%                           0             0             N
Investments, a                                  Stardot, Inc.
Minnesota
general
partnership


Stardot, Inc.                 01/31/07          Technology /                    0%               50% Stardot Investments       0             0             N
(Minnesota)                                     management consulting
                                                and mobility software
                                                development company.


Steamboat        84-          03/17/84          Advantage Rent A Car -          0%              100% Southwest-Tex             0             0             N
Springs Rental & 0957073                        Colorado                                             Leasing Co.,
Leasing, Inc.                                                                                        Inc.




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Stillwater Ford, 41-        02/06/89          Owns closed Ford                100%               0%                           0             0             N
Lincoln-Mercury, 1447044                      dealership in Stillwater,
Inc.                                          MN.



Stimson Partners 20-         2008             Owns Stimson Building -          0%               50% Jacob Holdings of         0          750,000          N
LLC              2414122                      Seven Steakhouse and                                  Stimson LLC
                                              Sushi is the Sole Tenant



Sun Leasing      74-        02/23/90          Advantage Rent A Car -           0%              100% Southwest-Tex             0             0             N
Corporation      2564445                      New Mexico                                            Leasing Co.,
                                                                                                    Inc.



Sun Ventures     43-         2005             Shell                            99%               1% Rosedale Dodge,           0             0             N
LLC              2081870                                                                            Inc.




Superior         26-        08/06/07          Owns closed executive            0%               51% Dentod Investments        0             0             N
Executive Search 0658090                      search firm in Chicago,                               LLC
and Consulting                                IL.
LLC


Sydney Holdings 26-         09/24/07          Investment property -            99%               1% Walden Investment         0             0             Y
of County Road 1118489                        Warehouse located at                                  Company
66 LLC                                        35078 County Road 3 in
                                              Crosslake


Sydney Holdings 20-         08/29/06          Residential property for         0%              100% Jacob Properties of       0          44,500           Y
of Crosslake LLC 5461182                      future development - Lot                              Minnesota LLC
                                              on Crosslake (Kadrie)



Sydney Holdings 20-         10/06/05          Personal property of            100%               0%                        (25,000)         0             Y
of Eden Valley  3589034                       Dennis Hecker - Home
LLC                                           purchased for sister at
                                              560 Elk Avenue, Eden
                                              Valley, MN

Sydney Holdings 48-         10/25/02          Shell                            96%               0%                           0             0             N
of Grand Marais 1282476
LLC



Sydney Holdings 41-         10/05/05          Owned sold Inver Grove           99%               1% Walden Investment         0             0             N
of IGH LLC f/k/a 2003545                      Hyundai dealership                                    Company
Inver Grove
Hyundai LLC f/k/a
Southview
Hyundai LLC


Sydney Holdings 20-         12/21/05          Formerly owned Inver             0%              100% Inver Grove Motors        0             0             N
of IGI LLC (f/k/a 3589085                     Grove Volkswagen - sold                               LLC
Inver Grove                                   to Twin Cities
Imports LLC)                                  Automotive




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Sydney Holdings 41-           07/13/01          R/E development                  99%               1% Walden Investment         0             0             Y
of Oak Park     2012177                         property (deed-in-lieu                                Company
Heights LLC                                     January 2009)
(f/k/a Jerden
LLC)
Sydney Holdings 81-           06/04/04          Personal Property of             0%              100% Jacob Properties of       0         (126,224)         N
of St. Louis Park 0651021                       DEH - Parkside Lofts                                  Minnesota LLC
LLC                                             Condominum at 460
                                                Ford Road, #403, St.
                                                Louis Park, MN



Sydney Holdings 81-           06/04/04          Personal Property of             0%              100% Jacob Properties of       0         (165,774)         N
of St. Louis Park 0651021                       DEH - Parkside Lofts                                  Minnesota LLC
LLC                                             Condominum at 460
                                                Ford Road, #405, St.
                                                Louis Park, MN


Terraces at         20-                         Owns undeveloped land            0%               67% H & H Realty of           0         (891,667)         Y
Windsor LLC         3236762                     in SW Florida - 4.8 acres                             Bonita Springs LLC
                                                on Windsor Road in
                                                Bonita Springs


TRAC            37-           12/23/03          Shell                            99%               1% DH Capital                0             0             N
Investments LLC 1481584                                                                               Holdings LLC




Tradewinds U-       99-       04/11/83          Advantage Rent A Car -           0%              100% Southwest-Tex             0             0             N
Drive, Inc.         0221185                     Hawaii                                                Leasing Co.,
                                                                                                      Inc.



Transcend                                       IP Telephony Company             54%               0%                        750,000          0             N
Communications,
Inc.



Transcend                     11/14/05          Shell                            0%              100% Transcend                 0             0             N
Holding Company                                                                                       Communications,
LLC                                                                                                   Inc.



Twin City Homes, 41-          12/14/01          Owns Closed Residential          0%                0%                   0       0             0             N
LLC / GMAC       2023545                        real estate brokerage
Real Estate                                     firm.



United States                 11/20/91          Rental car operation in          0%               49% Nugget Leasing            0         1,500,000         N
Rent-A-Car, Inc.                                Las Vegas, NV.                                        Corp.




Ute Leasing         87-       09/07/90          Advantage Rent A Car -           0%              100% Southwest-Tex             0             0             N
Corporation         0479002                     Utah                                                  Leasing Co.,
                                                                                                      Inc.




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VM Investments       75-       12/08/05          Ownedshares n Custom            0%                0%                         0             0             N
LLC                  3205687                     Auto detailing company -
                                                 All assets sold.



Walden Auto          41-       11/13/97          Shell                          100%               0%                         0             0             N
Leasing IV, Inc.     1899664




Walden Fleet       41-         11/06/87          Owns closed GM                 100%               0%                      (110,000)        0             N
Group, Inc. f/k/a 1600799                        Dealership in Pine City,
G.M.I.                                           MN
Acquisitions, Inc.



Walden Fleet      41-          08/19/88          Fleet sales company --         100%               0%                         0             0             N
Sales Group, Inc. 1619133                        No assets.
[Walden
Automotive
Group, Inc. f/k/a
DENWAL
Management,
Inc. merged
intoWalden Fleet
Sales Group, Inc.
12/31/03]



Walden Fleet         41-       03/24/99          Fleet leasing company          100%               0%                     (8,000,000)       0             N
Services II, Inc.    1935184
f/k/a Walden
Remarketing
Services, Inc.
f/k/a Walden
Fleet Services,
Inc.

Walden               41-       07/01/88          HC owns various LLC            100%               0%                         0             0             N
Investment           1619140                     Interests
Company



Walden Leasing, 41-            12/17/97          Auto Leasing Company --        100%               0%                         0             0             N
Inc.            1899665                          All assets sold.




Walden Payroll       20-       11/22/06          Payroll Services                99%               1% Walden Investment       0             0             N
Services LLC         5941452                     Company for DEH                                      Company
                                                 entities



Walden           41-           09/30/02          Owns closed Forest              50%              50% Walden Investment    446,261       446,261          N
Properties of    1596602                         Lake Ford dealership                                 Company
Forest Lake, LLP                                 property (lessee in
                                                 bankruptcy).




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Waterfront          26-       04/01/08          50% Investment in             50%               0%                      145,000          0             Y
Properties of AZ    2897520                     Arizona Condominium
LLC                                             Property at 7181 East
                                                Camelback Road in
                                                Scottsdale, AZ

WBDH Realty,   41-            10/15/02          Various real estate           50%              50% Walden Investment    (229,158)    (229,158)         N
LLP f/k/a WBDH 1572670                          company properties for                             Company
Realty Company                                  closed dealerships
                                                (Stillwater Cadillac &
                                                Forest Lake Chrysler).




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AO 245B (Rev. 06/05) Sheet 1 - Judgment in a Criminal Case




                                           United States District Court
                                                             District of Minnesota

            UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                       v.                                                    Case Number: 10cr32(1)(JNE/SER)
              DENNIS EARL HECKER                                             USM Number: 15080-041
                                                                             Social Security Number: 4298
                                                                             Date of Birth: 1952

                                                                             William J. Mauzy & Casey T. Rundquist
                                                                             Defendant’s Attorney

THE DEFENDANT:

[x]       pleaded guilty to count(s): Count 1 of the Information and Count 22 of the Second Superseding Indictment
[]        pleaded nolo contendere to counts(s) which was accepted by the court .
[]        was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
                                                                                                    Offense
Title & Section                          Nature of Offense                                          Ended                    Count
18: 371                                  Conspiracy to Commit Wire Fraud                            June 2009                Count 1,
                                                                                                                             Information
18: 152(7) and 2                         Bankrupt. Fraud--Fraudulent Transfer/Concealment June 4, 2009                       Count 22, 2d
                                                                                                                             Superseding
                                                                                                                             Indictment
        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on counts(s) .
[x]       Counts 1-21, & 23-26 of the Second Superseding Indictment are dismissed on the motion of the United States.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

                                                                                                   February 11, 2011
                                                                                             Date of Imposition of Judgment

                                                                                                      /s/ Joan N. Ericksen
                                                                                                       Signature of Judge

                                                                                 JOAN N. ERICKSEN, United States District Judge
                                                                                            Name & Title of Judge

                                                                                                      February 15, 2011
                                                                                                            Date




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AO 245B (Rev. 06/05) Sheet 2 - Imprisonment
DEFENDANT:                    DENNIS EARL HECKER
CASE NUMBER:                  10CR32(1)(JNE/SER)


                                                              IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 60 months as to Count 1 of the Information to be served consecutively with 60 months as to Count 22
of the Second Superseding Indictment, for 120 months total.




[x]       The court makes the following recommendations to the Bureau of Prisons:
          That Defendant be incarcerated in or near Minnesota.
          That Defendant be allowed to participate in the 500 hour comprehensive drug treatment program offered
          by the Bureau of Prisons.
          That Defendant participate in the Inmate Financial Responsibility Program.

[x]       The defendant is remanded to the custody of the United States Marshal.


[]        The defendant shall surrender to the United States Marshal for this district.
          [] at on .
          [] as notified by the United States Marshal.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          [] before on .
          [] as notified by the United States Marshal.
          [] as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                     to

a                                           , with a certified copy of this judgment.




                                                                                                     United States Marshal



                                                                                          By
                                                                                                  Deputy United States Marshal




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AO 245B (Rev. 06/05) Sheet 3 - Supervised Release
DEFENDANT:                     DENNIS EARL HECKER
CASE NUMBER:                   10CR32(1)(JNE/SER)
                                                     SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years as to Count 1 of the
Information to be served concurrently with 3 years as to Count 22 of the Second Superseding Indictment.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

[]        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

[x]       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
          applicable.)

[x]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
          is a student, as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this Judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions on
the attached page.
                                   STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
      month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
      reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
      or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
      unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
      the court; and
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
      or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
      compliance with such notification requirement.




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AO 245B (Rev. 06/05) Sheet 3A - Supervised Release
DEFENDANT:                    DENNIS EARL HECKER
CASE NUMBER:                  10CR32(1)(JNE/SER)


                                     SPECIAL CONDITIONS OF SUPERVISION

a     The defendant shall abstain from the use of alcohol and other intoxicants and not frequent establishments whose
      primary business is the sale of alcoholic beverages.

b     The defendant shall participate in a program for substance abuse as approved by the probation officer. That program
      may include testing and inpatient or outpatient treatment, counseling, or a support group. Further, the defendant shall
      contribute to the costs of such treatment as determined by the Probation Office Co-Payment Program not to exceed
      the total cost of treatment.

c     The defendant shall submit to substance abuse testing as approved and directed by the probation officer.

d     The defendant shall provide the probation officer access to any requested financial information, including interests in
      corporate or other business entities, credit reports, credit card bills, bank statements, and telephone bills. In response
      to requests for financial information, the defendant is required to make truthful and complete explanations and
      disclosures of any acquisitions or expenditures with a value of $500 or more, including, but not limited to, any
      private loans, gifts, disbursements, or discoveries of previously owned assets.

e     The defendant shall be prohibited from incurring new credit charges or opening additional lines of credit without
      approval of the probation officer.

f     The defendant shall participate in a psychological/psychiatric counseling or treatment program, as approved by the
      probation officer. Further, the defendant shall contribute to the costs of such treatment as determined by the
      Probation Office Co-Payment Program not to exceed the total cost of treatment.

g     The defendant shall take any prescribed medications as directed by his medical provider.

h     The defendant shall submit his person, residence, office, vehicle, or an area under the defendant's control to a search
      conducted by a United States Probation Officer or supervised designee, at a reasonable time and in a reasonable
      manner, based upon reasonable suspicion of contraband or evidence of a supervision violation. The defendant shall
      warn any other residents or third parties that the premises and areas under the defendant's control may be subject to
      searches pursuant to this condition.

i     The defendant shall not hold employment with fiduciary responsibilities without prior approval from the probation
      officer.

j     If not employed at a regular lawful occupation, as deemed appropriate by the probation officer the
      defendant may be required to perform up to 20 hours of community service per week until employed. The
      defendant may also participate in training, counseling, daily job search, or other employment-related
      activities, as directed by the probation officer.

k     The defendant shall perform 120 hours of community service, as directed by the probation officer.




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AO 245B (Rev. 06/05) Sheet 5 - Criminal Monetary PenaltiesDocument
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DEFENDANT:                  DENNIS EARL HECKER
CASE NUMBER:                10CR32(1)(JNE/SER)
                                      CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                   Fine                  Restitution
      Totals:         $200                                          $31,363,254.64


[]    The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)
      will be entered after such determination.

[x] The defendant shall make restitution (including community restitution) to the following payees in the amount listed
    below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
      §3664(i), all nonfederal victims must be paid before the United States is paid.

                  Name and Address of Payee                                   **Total Loss     Restitution      Priority or
                                                                                                Ordered         Percentage
 Chrysler Financial, Attn: John C. Tracy, Assistant General              $16,261,871.91      $16,261,871.91
 Counsel, CIMS: 405-27-10, 27777 Inkster Road,
 Farmington Hills, MI 48334
 Hyundai Capital America, 3161 Michelson Drive, Suite                    $10,404,029.00      $10,404,029.00
 1900, Irvine, CA 92612
 North Shore Bank, Attn: Jay McKenna, 15700 W.                           $990,977.99         $990,977.99
 Bluemond Road, Brookfield, WI 53005
 Center National Bank, Attn: David Berg, 15705 37th                      $403,326.45         $403,326.45
 Avenue North, Plymouth, MN 55446
 American State Bank and Trust Company of Williston,                     $1,299,686.90       $1,299,686.90
 Attn: Kenneth Heen, PO Box 1446, Williston, ND 58802
 U.S. Bank, Dorsey and Whitney, c/o Monica Clark, 50                     $1,094,584.55       $1,094,584.55
 South Sixth Street, Suite 1500, Minneapolis, MN 55402-
 1498
 Estate of Dennis E. Hecker, c/o Clerk of U.S. Bankruptcy                $908,777.84         $908,777.84
 Court
 TOTALS:                                                                 $31,363,254.64      $31,363,254.64   0.00%
               Payments are to be made to the Clerk, U.S. District Court, for disbursement to the victim.

[]    Restitution amount ordered pursuant to plea agreement $.

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
      full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options
      on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[x] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

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            [x] the interest requirement is waived for the [] fine [x] restitution.

            [] the interest requirement for the: [] fine [] restitution is modified as follows:


  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994 but before April
23, 1996.




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AO 245B (Rev. 06/05) Sheet 6 - Schedule of Payments
DEFENDANT:                     DENNIS EARL HECKER
CASE NUMBER:                   10CR32(1)(JNE/SER)

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A         []         Lump sum payment of $ due immediately, balance due

                     [] not later than , or
                     [] in accordance [] C, [] D, [] E, or [] F below; or

B         []         Payment to begin immediately (may be combined with [] C, [] D, or [] F below); or

C         []         Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g. months or years), to
                     commence (e.g. 30 or 60 days) after the date of this judgment; or

D         []         Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g. months or years), to
                     commence (e.g. 30 or 60 days ) after the release from imprisonment to a term of supervision; or

E         []         Payment during the term of supervised release will commence within (e.g. 30 or 60 days ) after release from
                     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
                     time; or

F         [x]        Special instructions regarding the payment of criminal monetary penalties:
          Over the period of incarceration, the defendant shall make payments of either quarterly installments of a
          minimum of $25.00 if working non-UNICOR or a minimum of 50 percent of monthly earnings if working
          UNICOR. Payments of not less than $500.00 per month are to be made over a period of 3 years commencing 30
          days after release from confinement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are to be made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[x]       Joint and Several
          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
          Amount, and corresponding payee, if appropriate:
          $14,195,949.00 payable to Chrysler Financial is joint and several with co-defendant Steven Joseph Leach
          10cr32(2)(JNE/SER).


[]        The defendant shall pay the cost of prosecution.


[]        The defendant shall pay the following court cost(s):


[]        The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7)penalties, and (8) costs, including costs of prosecution and court costs.



                                                                          Page 7
